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                                        IN THE
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
NOE SANTOS

       Plaintiff,
v.                                                          CA No. 4:22-cv-02005

LOWE’S COMPANIES, INC.
                                                            JURY DEMANDED
       Defendant


                            PLAINTIFF’S ORIGINAL COMPLAINT

       Noe Santos (Plaintiff) complains of Lowe’s Companies, Inc. (Lowe’s or

Defendant).

                                     1. INTRODUCTION

1.1.   Plaintiff demands a jury for any and all issues triable to a jury. He complains

       that he was discriminated against regarding the terms and conditions of his

       employment and was terminated because of his disability and because he

       requested legally protected medical leave.          Defendant’s actions violated the

       Americans with Disabilities Act of 1990, as amended (ADAAA), and the Family

       and Medical Leave Act of 1993 (FMLA).

1.2.   Plaintiff    seeks    all   damages   recoverable   under   those    laws,        including

       compensatory and punitive damages, liquidated damages, expert witness fees,

       court costs, attorney’s fees and prejudgment and post-judgment interest.

                                         2. PARTIES

2.1.   Plaintiff is employed by Defendant and resides in Harris County, Texas.

2.2.   Defendant is a North Carolina corporation conducting business in Texas.

       Defendant may be served with process through its registered agent, Corporation
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       Service Company d/b/a CSC – Lawyers Incorporating Service Company, 211

       East 7th Street, Suite 620 Austin, TX 78701-3218.

                                    3.   JURISDICTION

3.1.   This action is brought under the Americans with Disabilities Act, as amended, 42

       U.S.C. § 12101, et seq., and the Family Medical Leave Act, 29 U.S.C. § 2601, et seq.

       The unlawful employment practices were committed within the jurisdiction of

       the United States District Court for the Southern District of Texas – Houston

       Division.

3.2.   This court has jurisdiction over all claims in this action.              The amount in

       controversy is within the jurisdictional limits of this court.

                             4. PROCEDURAL REQUISITES

4.1.   Jurisdiction is appropriate because Plaintiff timely filed a charge with the Equal

       Employment Opportunity Commission alleging discrimination and retaliation

       under the ADAAA. The EEOC granted Plaintiff the right to sue by notice dated

       March 24, 2022. This suit is filed within 90 days of receiving that notice.

4.2.   Plaintiff has satisfied all procedural requisites to the filing of this suit.

                              5. STATEMENT OF CLAIMS

5.1    Plaintiff is a diabetic. He went to work for Lowe’s in February 2019 as a

       Plumbing Pro. In August 2020, he underwent an above-the-knee amputation of

       his right leg.

5.2    He requested and was granted a leave of absence as a reasonable accommodation

       under the ADAAA and/or the FMLA. Defendant approved Plaintiff’s request

       by correspondence dated September 30, 2020, granting him leave from July 23,



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      2020, through December 1, 2020. However, Plaintiff terminated Defendant

      September 20, 2020.

5.3   Plaintiff did not learn he had been fired until days later, when he was supposed

      to receive a prosthetic leg through Lowe’s health insurance coverage. The

      healthcare worker who was supposed to fit him with the device informed him he

      could not do so because Plaintiff had been terminated and his healthcare policy

      was consequently canceled.

5.4   Plaintiff was thrown into despair. For months he and a friend contacted various

      employees of Lowe’s in an attempt to find out how this could have happened.

      They got little or no information as Defendant blamed his termination on

      different levels of authority.

5.5   During that time, Plaintiff relied on friends and Catholic Charities to pay his

      rent, buy him food and pay his medical bills. He was forced to go on food

      stamps.

5.6   Plaintiff wept constantly and wondered how he would survive. Because he

      could not afford the prosthetic leg or physical therapy he needed to help him

      learn to use it, he remained confined to a wheelchair. He could not afford other

      medical care that he needed.

5.7   Plaintiff was finally rehired and returned to work. He is able to perform his job

      even using his wheelchair. His ratings from supervisors and from customers are

      consistently excellent.

5.8   Plaintiff was denied a reasonable accommodation, a leave of absence, even

      though Defendant had approved it. He was terminated in violation of the



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      ADAAA and/or the FMLA. He has been discriminated against because of his

      disability and/or his reasonable request for leave.

         6. FIRST CAUSE OF ACTION: DISABILITY DISCRIMINATION

6.1   Based on the above facts, Plaintiff alleges Defendant discriminated against him in

      violation of the Americans with Disabilities Act, as amended.

6.2   Defendant denied Plaintiff a reasonable accommodation despite its own

      correspondence granting Defendant’s request. Defendant subjected Plaintiff to

      different terms and conditions of employment and terminated him because of his

      disability, as that term is defined by the ADAAA.

6.3   Defendant regarded Plaintiff as disabled even though he could and can perform

      the essential functions of his job. Plaintiff’s request for a reasonable

      accommodation would not have created too great a burden on Defendant.

      Further, Plaintiff was discriminated against based on a record of impairment.

6.4   Defendant retaliated against Plaintiff for his request for an accommodation.

6.5   Defendant’s actions caused Plaintiff to suffer lost wages in the past and future,

      loss of future earnings capacity, past and future emotional pain and suffering

      and mental anguish. In all probability, Plaintiff will continue to suffer such

      damages.

6.6   Further, Defendant acted with malice or, in the alternative, with reckless

      indifference to Plaintiff’s federally protected rights. He is entitled to punitive

      damages and all other damages available under the ADAAA.

                      7. SECOND CAUSE OF ACTION: FMLA

7.1   Based on the above facts, Plaintiff alleges Defendant discriminated against him

      and retaliated against him for needing federally protected leave under the
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       Family Medical Leave Act. In the alternative, Defendant denied Plaintiff access

       to FMLA leave, then terminated him rather than allow him to take it.

7.2    As a direct and proximate result of Defendant’s intentional, discriminatory,

       and/or otherwise unlawful acts described above, Plaintiff suffered and continues

       to suffer mental anguish and emotional pain and suffering, all to his detriment

       and compensable at law. Plaintiff also sues for punitive or liquidated damages

       as allowed by statute.

                                     8. JURY TRIAL

8.1    Plaintiff respectfully requests a jury trial and has paid the required fee.

                                        9. PRAYER

9.1.   For all of the above reasons, Plaintiff prays for the following relief:

       9.1.1. Judgment against Defendant for actual damages;

       9.1.2. General damages for the harm Defendant caused Plaintiff through its

              violations of the ADAAA;

       9.1.3. General damages for the harm Defendant caused Plaintiff through its

              violations of the FMLA;

       9.1.4. Back pay and front pay and benefits;

       9.1.5. Compensatory damages for emotional pain, suffering, inconvenience, and

              loss of enjoyment of life;

       9.1.6. Liquidated damages;

       9.1.7. Exemplary or punitive damages;

       9.1.8. Pre-judgment and post-judgment interest;

       9.1.9. Attorneys’ fees and costs of court; and



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9.1.10. Other and further relief, at law or in equity, to which Plaintiff may show

      he is justly entitled.



                               Respectfully submitted,

                               ANDREW M. WILLIAMS & ASSOCIATES


                               By:   /s/Andrew M. Williams
                                     Andrew M. Williams
                                     SBN 21510835
                                     6565 West Loop South, Suite 560
                                     Bellaire, Texas 77401
                                     (713) 840-7321 - Telephone
                                     (713) 839-1302 – Facsimile
                                     andy@amwlawfirm.com - Email

                                     ATTORNEYS FOR PLAINTIFF




                                                                 Plaintiff’s Original Complaint
